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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                               DISTRICT OF COLUMBIA
                                  WASHINGTON, D.C.


UNITED STATES OF AMERICA,                  )
                                           )
            Plaintiff,                     )
                                           )
    v.                                     ) Case No.     1:22-CR-00317-TSC-1
                                           )
KASEY V. HOPKINS                           )
                                           )
          Defendant.                       )

                                  DEFENDANT’S
                         MOTION TO TERMINATE PROBATION

         Mr. Hopkins pled to parading, demonstrating and picketing at the US Capitol

Building on January 6, 2021. On April 11, 2023, he was sentenced to four months

confinement and 24 months of probation to follow. He was released from confinement on

November 29, 2023. He has been under supervision and government control by pretrial

services, US BOP, and US probation since his arrest on August 5, 2022. He has had no

disciplinary infractions while on pretrial release, while incarcerated, and now while on

probation. He continues to operate and run his Window installation and repair business and

recently married his long time office manager and they reside together in their home in

Kansas City, Kansas.

         Counsel believes that termination of probation at this point is in the interests of

justice when applying the factors under 18 USC 3553. He now deeply regrets being

involved in the events on January 6, 2021 and realizes he made bad choices and decisions.
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He has, as of this date, completed more that half of the probation and assures this Court he

will continue to be a positive contributing member of his community, a responsible family

man and a law abiding citizen.

   WHEREFORE, defendant moves the Court to terminate his remaining probation.



Respectfully submitted:

/s/ John R. Osgood
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CERTIFICATE OF SERVICE

      I certify that a copy of this pleading has been caused to be served on the Assistant
United States Attorney for District of Columbia, Washington, D.C. and other ECF listed
counsel through use of the Electronic Court Document Filing System on Tuesday,
December 3, 2024.

/s/ jro
JOHN R. OSGOOD




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